           Case 3:08-cr-05366-BHS         Document 107    Filed 08/31/16    Page 1 of 3




 1

 2

 3

 4
                           UNITED STATES DISTRICT COURT
 5                        WESTERN DISTRICT OF WASHINGTON
                                    AT TACOMA
 6

 7
     JOSE FREDDY BARRERA,                             CASE NO. C16-5512 BHS
 8                                                             CR08-5366-BHS
                            Petitioner,
 9
                 v.                                   ORDER DENYING PETITION
10
     UNITED STATES OF AMERICA,
11                          Respondent.
12

13         This matter comes before the Court on Jose Freddy Barrera’s (“Petitioner”)

14 motion under 28 U.S.C. § 2255. Dkt. 1. The Court has considered the pleadings filed in

15 support of and in opposition to the motion and the remainder of the file and hereby denies

16 the motion for the reasons stated herein.

17                     I. PROCEDURAL AND FACTUAL HISTORY

18         On April 7, 2009, Petitioner pled guilty to Conspiracy to Distribute

19 Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846. Cause No.

20 CR08-5366, Dkt. 76. On April 27, 2009, the Court sentenced Petitioner to a total term of

21 84 months of incarceration. Id., Dkts. 258, 260. The conviction included a mandatory 60-

22 month sentence pursuant to 21 U.S.C. §§ 841(a)(1), (b)(1)(B).


     ORDER - 1
           Case 3:08-cr-05366-BHS         Document 107       Filed 08/31/16     Page 2 of 3




 1          On November 24, 2014, Petitioner filed a motion pursuant to 18 U.S.C. §

 2 3582(c)(2) seeking a reduction of his sentence. Id., Dkt. 99. On May 8, 2015, that motion

 3 was denied. Id., Dkt. 104. Petitioner has filed no other post conviction motions. He has

 4 not appealed his sentence.

 5          On June 26, 2015, the Supreme Court decided Johnson v. United States, 135 S. Ct.

 6 2551 (2015). In Johnson, the Court held that the residual clause of the Armed Career

 7 Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was an unconstitutionally vague sentencing

 8 statute in violation of the Due Process Clause. Id. at 2557. On April 18, 2016, the

 9 Supreme Court decided Welch v. United States, 136 S. Ct. 1257 (2016). In Welch, the

10 Court held that “that Johnson is retroactive in cases on collateral review . . . .” Id. at

11 1268.

12          On June 16, 2016, Petitioner mailed (and thus filed) his motion pursuant to 28

13 U.S.C. § 2255. Dkt. 1-1; See Rule 3(d), Rules Governing Section 2255 Cases. Petitioner

14 argues that his sentence was enhanced under the ACCA and that it should be reduced

15 pursuant to the Supreme Court’s ruling in Johnson. Dkt. 1. On July 22, 2016, the

16 Government responded. Dkt. 3.

17                                        II. DISCUSSION

18          Petitioner argues that his sentence was enhanced under the ACCA and that it

19 should be reduced pursuant to the Supreme Court’s ruling in Johnson. Dkt. 1. The

20 Government contends that (1) the motion is time-barred, (2) barred by waiver, and (3) the

21 Supreme Court’s ruling in Johnson is inapplicable to Petitioner’s sentence. Dkt. 3. The

22


     ORDER - 2
           Case 3:08-cr-05366-BHS       Document 107       Filed 08/31/16    Page 3 of 3




 1 Court will address neither the time-bar or waiver issues, as Petitioner’s motion is clearly

 2 deficient on its face.

 3         In Johnson the Supreme Court found the language in the residual clause of §

 4 924(e)(2)(B)(ii) to be unconstitutionally vague. 135 S. Ct. at 2555. Identical language

 5 exists in the United States Sentencing Guidelines at § 4B1.2(a)(2) (“Career Offender

 6 Guideline”). But Petitioner did not receive a mandatory minimum sentence pursuant to

 7 the ACCA or the Career Offender Guideline. Petitioner is not serving a sentence under §

 8 922(g), a necessary element under the ACCA. 18 U.S.C. § 924(e)(1). Petitioner had not

 9 been convicted of more than one previous crime, a mandatory element under both the

10 ACCA and the Career Offender Guideline. Id.; USSG § 4B1.1(a). Petitioner received his

11 sentence solely pursuant to his conviction under 21 U.S.C. §§ 841(a)(1), (b)(1)(B).

12         Petitioner’s sentencing was unrelated to the ACCA or the Career Offender

13 Guideline. Therefore, Petitioner can not rely on Johnson to reduce his sentence.

14                                         III. ORDER

15         Therefore, it is hereby ORDERED that the Petitioner’s motion under 28 U.S.C. §

16 2255 (Dkt. 1) is DENIED.

17         Dated this 31st day of August, 2016.

18

19

20
                                                     A
                                                     BENJAMIN H. SETTLE
                                                     United States District Judge

21

22


     ORDER - 3
